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     IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


JOSHUA DUNN, et al.,                   )
                                       )
       Plaintiffs,                     )
                                       )          CIVIL ACTION NO.
       v.                              )            2:14cv601-MHT
                                       )                 (WO)
JEFFERSON S. DUNN, in his              )
official capacity as                   )
Commissioner of the                    )
Alabama Department of                  )
Corrections, et al.,                   )
                                       )
       Defendants.                     )

                            OPINION AND ORDER

       The   plaintiffs       in    this    class-action     lawsuit       are

more     than       40     state     prisoners         and   the    Alabama

Disabilities Advocacy Program.                  The prisoners intend to

represent       a   putative       class   of    all   prisoners    in     the

state system.            If a class is certified, the litigation

could affect over 25,000 prisoners in approximately 29

facilities.         The defendants are the Alabama Department

of     Corrections        (ADOC),     its       Commissioner,      and     its

Associate Commissioner of Health Services.
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       The     plaintiffs     assert       the     following           claims:

inadequate       medical     and    mental-health          treatment        in

Alabama prison facilities; denial of due process for

involuntary        mental-health          treatment;           failure     to

accommodate        prisoners          with        disabilities;           and

retaliation      against     the    plaintiffs      for    communicating

with counsel in order to challenge these conditions of

their confinement.          They rely on the First, Eighth, and

Fourteenth Amendments (as enforced through 42 U.S.C.

§ 1983); the Americans with Disabilities Act (42 U.S.C.

§§ 12101 et seq.); and § 504 of the Rehabilitation Act

of 1973 (29 U.S.C. § 794).               They seek declaratory and

injunctive relief.           Jurisdiction is proper under 28

U.S.C. § 1331 (federal question) and 28 U.S.C. § 1343

(civil rights).

       This    litigation     is     before      the      court    on      the

defendants’ partial motion to dismiss.                    The defendants

seek     the    dismissal     of     the       claims     of     two     named

plaintiffs,      Zerrick     Naylor      and    Bradley    Pearson,        who

have    been    released     from    prison      since     the    case     was

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filed.     The defendants argue that these two plaintiffs

lack standing and, alternatively, that their claims are

moot.    For the reasons set forth below, the defendants’

motion will be denied with respect to standing.                       With

respect to mootness, the motion will be reserved, and a

hearing will be set to take additional evidence and

hear further argument.



                              I.    BACKGROUND

    Plaintiffs Naylor and Pearson are both disabled:

Naylor is blind, and Pearson is hearing-impaired and

communicates by sign language.                   They claim that they

have been denied reasonable accommodations for their

disabilities.         Both also claim that, because of their

disabilities, they have been denied access to certain

programs,    benefits,        and   services      available      to   other

prisoners.        Other blind and deaf prisoners are also

plaintiffs       in   this    suit,       but,    Naylor   and    Pearson

contend,    no    other      plaintiffs     were    denied    reasonable



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accommodations or programming in the same ways as they

were.

       This lawsuit was filed in June 2014.               At that time,

Naylor and Pearson were both in prison based on ‘split’

sentences.       Under    Alabama      law,       with   certain    crimes

excepted, a court may ‘split’ a                sentence of 20 years

or less by requiring the defendant to serve a period of

time     in   prison,    suspending         the     remainder      of    the

sentence, and requiring the defendant to serve a term

of probation.      See 1975 Ala. Code § 15-18-8(a)(1). Upon

finding a violation of probation, the court may revoke

the probation and require the defendant to serve the

remainder of his original sentence in prison, less any

time     already      served,      or,        depending      upon        the

circumstances, impose a lesser prison sentence, modify

the conditions of probation, or continue the defendant

on probation.      See generally 1975 Ala. Code § 15-18-8;

Dixon    v.   Alabama,    912   So.    2d     292    (Ala.   Crim.      App.

2005).



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       In February 2015, more than seven months after this

lawsuit was filed, Naylor and Pearson were released

from ADOC custody and began to serve probation on split

sentences.         Naylor had served three years in prison,

and     Pearson,      two    years.          Naylor    will     remain       on

probation       and   subject       to   conditions     of     release      for

three       years;     Pearson       will     remain     on     supervised

probation for, at least, five years.1                    If they do not

meet their conditions of probation, they could face a

return to prison.

       Since filing the original complaint, the plaintiffs

have amended their pleadings several times.                     Naylor and

Pearson      were     released      from     prison    after    the   first

amended       complaint       was    filed;     the     second     amended


    1. Although Naylor and Pearson submitted a court
order from Naylor’s case purporting to place him on
unsupervised probation for the remainder of his 15-year
sentence, Alabama law provides that the maximum period
of probation is five years. See 1975 Ala. Code
§ 15-22-54(a) (“[I]n no case ... shall the maximum
probation period of a defendant guilty of a felony
exceed five years.”). Accordingly, it is unclear
whether he will actually remain on probation for more
than five years.

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complaint, which added a new named plaintiff and some

more-detailed      factual       allegations,2      reflected      these

changes in their status.



                           II.     DISCUSSION

    After the second amended complaint was filed, the

defendants moved to have Naylor and Pearson dismissed.

The defendants argue that, because these two plaintiffs

had been released from custody, their claims are now

moot and based on the second amended complaint, they no

longer have standing to proceed.

    Standing     and    mootness       are   related    but    separate

issues.     “[T]he emphasis in standing problems is on

whether the party invoking federal court jurisdiction

has a personal stake in the outcome of the controversy



    2. The factual allegations regarding Naylor’s
treatment remained identical; the factual allegations
regarding Pearson’s treatment remained identical except
for   a   new   allegation   that   he   suffered   the
discrimination he had experienced in other arenas of
prison life in a class he was required to attend
shortly before his release.

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and      whether     the     dispute           touches     upon        the     legal

relations of parties having adverse legal interests.”

U.S.     Parole     Comm’n       v.    Geraghty,        445     U.S.    388,     397

(1980)       (citations          and        internal       quotation           marks

omitted).         Once a party has established standing to

invoke      the    jurisdiction        of        the   court,    the    claim     he

asserts must remain “live” throughout the pendency of

the     lawsuit--that       is,       it    cannot      become    moot.          See

Powell v. McCormack, 395 U.S. 486, 496 (1969).

       Although      the     Supreme           Court    famously        described

mootness as “standing set in a time frame,” it has

emphasized that “there are circumstances in which the

prospect that a defendant will engage in (or resume)

harmful      conduct       may    be       too    speculative      to        support

standing,         but    not      too          speculative       to      overcome

mootness.”          Friends      of     the       Earth,   Inc.    v.        Laidlaw

Envtl. Servs. (TOC), Inc., 528 U.S. 167, 190 (2000).

Therefore, the fact that a plaintiff would not now have

standing to initiate a challenge to a given practice



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does    not    necessarily     mean    that    a    previously     filed

challenge has become moot.

       Here, there is no dispute that Naylor and Pearson

both had standing to bring suit when they filed their

original complaint in June 2014.; that, since then,

they    have   both   been     released;      and    that,    when       the

plaintiffs filed an amended complaint, they updated it

to reflect that change.               Whether Naylor and Pearson

retain their personal stake in the lawsuit thus comes

down to two questions: Did amending their complaint to

reflect their release defeat their standing? And did

their release moot their claims?               Because standing is

typically a preliminary determination, the court will

begin with it.



                              A. Standing

       As explained above, Naylor’s and Pearson’s claims

concern the alleged denial of reasonable accommodations

for their disabilities while in prison and the alleged

denial of access to certain programs, benefits, and

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services on account of their disabilities.                    There is no

dispute that they had standing when the first complaint

was filed.          Instead, the defendants argue that, because

they had been released by the time the first amended

complaint was filed, they no longer have standing.                         The

court disagrees.

       The standing inquiry asks whether such a dispute

exists at the beginning of the litigation, as compared

to   the     mootness    inquiry,     which    asks    whether      such     a

dispute remains throughout the litigation.                     See Focus

on the Family v. Pinellas Suncoast Transit Auth., 344

F.3d 1263, 1275 (11th Cir. 2003) (standing is assessed

"at the outset of the litigation" (citation omitted));

see also Cleveland Branch, NAACP v. City of Parma, 263

F.3d 513, 524 (6th Cir. 2001) ("[S]tanding does not

have    to     be    maintained    ....    Instead,      it    is    to     be

determined as of the time the complaint is filed.");

Carr v. Alta Verde Indus., Inc., 931 F.2d 1055, 1061

(5th    Cir.    1991)    ("As    with    all   questions      of    subject

matter       jurisdiction       except     mootness,       standing         is

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determined     as        of    the    date     of    the     filing    of    the

complaint, and subsequent events do not deprive the

court of jurisdiction.").

       Normally,     a    case       begins,   for     standing       purposes,

when the initial complaint is filed.                          However, in a

case which the defendants rely on, the Eleventh Circuit

Court of Appeals has recognized an exception to this

rule of thumb, apparently in order to prevent litigants

from trying to shoehorn standing for expired claims by

amending them onto unrelated complaints.                      In Focus, 344

F.3d    at   1275,       it    concluded       that,       when   an    amended

complaint raises new allegations which do not relate

back to a transaction or occurrence identified in the

original complaint, standing (at least with respect to

claims based on these new allegations) must be assessed

as of the date of the amendment.                       In that case, the

plaintiff initially alleged that it would suffer First

Amendment     injury          because    it    was     not     permitted     to

advertise for a conference to be held on a certain

future    date;     an        amended    complaint         making     the   same

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allegation was not filed until after the date of the

conference had past.             Id.    Because the allegations were

“identical”       and    thus     "plainly     relate[d]      back"     under

Fed.    R.   Civ.       P.    15(c),    the    court    held     that     the

plaintiff needed to show standing only as of the date

its original complaint was filed.                Id.

       Neither Focus nor any other precedent holds that

standing     is   to    be    reassessed       every   time     an   amended

complaint     is        filed.          Litigants      routinely        amend

complaints for a wide variety of reasons, many of them

not    particularly          substantive.        Absent    an    amendment

which effectively begins the case anew by adding in

unrelated     allegations         (or    new    plaintiffs),         standing

once established need not be reconsidered.3                      This does



    3. The court also notes that, with respect to
Naylor and Pearson, the second amended complaint
functioned as a ‘supplemental’ rather than an ‘amended’
pleading.   Formal styling aside, the portion of the
filing relevant to them did not add “facts or legal
claims in existence at the time the original pleading
was filed,” as appropriate in an amendment, Manning v.
City of Auburn, 953 F.2d 1355, 1360 n.8 (11th Cir.
1992) (citing Fed. R. Civ. P. 15(a)); rather, it “set
                                   (footnote continued)
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not, of course, leave defendants without recourse when

a   dispute    evaporates      after     a   case   against    them    has

begun; they can argue, just as defendants do here, that

the plaintiffs' claims have become moot.

      Here,    Naylor    and   Pearson's      allegations      regarding

the conditions of confinement in the defendants' prison

facilities have likewise remained essentially the same;

they certainly concern the same “conduct, transaction,

or occurrence."         Fed. R. Civ. P. 15(c)(1)(B).              Just as


forth new facts in order to update the earlier
pleading,” as appropriate in a supplement, id. at
1359-60 (citing Fed. R. Civ. P. 15(d), other citations
omitted); see also C. Wright & A. Miller, 3 Fed. Prac.
& Proc. § 1504 (“[Amended pleadings] relate to matters
that occurred prior to the filing of the original
pleading and entirely replace the earlier pleading;
[supplemental pleadings] deal with events subsequent to
the pleading to be altered and represent additions to
or continuations of the earlier pleadings.”).

    In substance, Naylor and Pearson’s filing was an
update as to the newly arisen fact of their release.
Presumably, this supplement was folded for convenience
into an amended pleading that had to be filed in order
to add a new named plaintiff.     Standing requirements
imposed on amended complaints are inapposite where, as
here, it would have been appropriate for the plaintiffs
at issue--Naylor and Pearson--to instead file a
supplemental pleading.

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in Focus, the fact that their amended complaint reveals

that they were subjected to these conditions in the

past is irrelevant to the standing analysis.                       Because

their allegations plainly relate back to their original

complaint, they need show standing only as of the date

it was filed.          This they have done.            The defendants'

contention that Naylor and Pearson no longer present a

justiciable case or controversy is properly considered

not as a question of standing, but rather as one of

mootness.



                                 B. Mootness

       Having      established      that   Naylor    and    Pearson     had

standing      to    invoke    the    court’s    jurisdiction       in   the

first place and that they maintain that standing now,

the court turns to a distinct, and more fact-intensive

question: Are their claims now moot?                   In other words,

do    Naylor     and   Pearson      maintain    a   personal,      legally

cognizable interest in the litigation, or must these

plaintiffs and their claims be dismissed from the case?

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Because   more    evidence    is     required       for    the    court   to

resolve    this     issue,     it        is   reserved       pending      an

evidentiary      hearing;    nevertheless,          this    opinion    will

set out analytical guideposts.

    “Attacks on subject matter jurisdiction under Fed.

R. Civ. P. 12(b)(1)[, such as in motions to dismiss on

mootness grounds,] come in two forms.                      Facial attacks

on the complaint require the court merely to look and

see if the plaintiff has sufficiently alleged a basis

of subject matter jurisdiction, and the allegations in

his complaint are taken as true for the purposes of the

motion.    Factual attacks, on the other hand, challenge

the existence of subject matter jurisdiction in fact,

irrespective of the pleadings, and matters outside the

pleadings,     such    as    testimony        and     affidavits,         are

considered.”        Lawrence       v.     Dunbar,     919     F.2d    1525,

1528-29   (11th       Cir.   1990)        (citations        and   internal

quotation marks omitted).            When a factual Rule 12(b)(1)

motion    is     brought,      “no       presumptive         truthfulness

attaches to plaintiff’s allegations, and the existence

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of disputed material facts will not preclude the trial

court     from     evaluating        for    itself        the        merits    of

jurisdictional claims.”             Id.

       Although    the     defendants’       motion       to    dismiss       was

based in significant part on an undisputed fact that

appeared on the face of the amended complaint--that is,

that     Naylor     and     Pearson        had     been     released          from

prison--it        also     took     issue        with     the    plaintiffs’

allegation regarding another critical fact, on which

mootness might turn: whether Naylor and Pearson in fact

“have a high risk of being readmitted to ADOC custody

and    facing     the    same     discriminatory        practices        [they]

faced    prior     to     [their]    release.”            See    Defendants’

Partial Motion to Dismiss Plaintiffs’ Second Amended

Class Action Complaint (doc. no. 127) at 8.                          The motion

argued that the plaintiffs had offered “no specific

support ... [for this] pessimistic assertion[,]” and

“ignore[d]       the     practical    reality       that       the    practices

they complain of will not evade review.”                         Id.     Naylor

and Pearson responded, attempting to answer with some

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additional       evidence,      including      statistics      about    the

overall reincarceration rates of Alabama probationers

on     split    sentences      and    Pearson’s      criminal      record.

Therefore, this court will treat the motion to dismiss

as a factual attack.

       “Because at issue in a factual 12(b)(1) motion is

the trial court’s jurisdiction--its very power to hear

the case--there is substantial authority that the trial

court is free to weigh the evidence and satisfy itself

as to the existence of its power to hear the case.”

Williamson v. Tucker, 645 F.2d 404, 412-13 (5th Cir.

May 20, 1981).4          In considering such a factual attack,

it is within “[t]he unique power of district courts to

make      factual       findings       which      are     decisive          of

jurisdiction ....”           Id. at 413.       The court will hold a

hearing to inform its exercise of that power.



    4. In Bonner v. Prichard, 661 F.2d 1206, 1209 (11th
Cir. 1981) (en banc), the Eleventh Circuit Court of
Appeals adopted as binding precedent all of the
decisions of the former Fifth Circuit handed down prior
to the close of business on September 30, 1981.

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    Somewhat      different      mootness      analyses      apply       to

individual claims and to claims brought on behalf of a

putative class; hence, this discussion will proceed to

consider both in turn, though the individual and class

claims are substantively the same.



                   1. Plaintiffs’ Contentions

    In   opposing     the    motion     to   dismiss,     Naylor     and

Pearson suggest that, because there is a significant

chance that they will be reincarcerated (more on this

below), none of their claims has been mooted by their

release and they remain free to proceed just as if they

were still in prison.            But this broad assertion is

without support in relevant case law.               They rely on an

out-of-circuit case, Armstrong v. Davis, 275 F.3d 849

(9th Cir. 2001), abrogated on other grounds by Johnson

v. California, 543 U.S. 499 (2005), that does not go so

far as they suggest, and a district court decision,

Hernandez v. Monterey, 70 F. Supp. 3d 963 (N.D. Cal.



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2014) (Grewal, J.), that is inconsistent with Eleventh

Circuit precedent.

    In Armstrong, 275 F.3d at 860-61, 865-67, the Ninth

Circuit held that disabled parolees had standing to

challenge on behalf of a class discrimination during

parole-revocation hearings.                  As a preliminary matter,

this is a standing case, not a mootness case.                       In any

event, the appeals court based its conclusion regarding

standing    on    extensive       factual       findings     made   by   the

district     court       regarding       the     likelihood     that     the

plaintiffs       would     be     placed       into   parole-revocation

proceedings      (though        not,    it     appears,    regarding     the

likelihood that their parole would in fact be revoked).

The court allowed          the already paroled             plaintiffs     to

pursue    claims     regarding         those    hearings;    however,     it

nowhere    suggested       that    they      would    have   standing    to

challenge any form of discrimination they might suffer




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in    prison     if    their    parole      were   actually      revoked.5

Compare McAlpine v. Thompson, 187 F.3d 1213, 1217-18

(10th Cir. 1999) (“[O]ther than (arguably) the Seventh

Circuit, our research indicates that every circuit to

consider the issue has decided that release to parole

moots      a    claim      regarding        prison     conditions       and

regulations,          as   opposed     to    parole      procedures         or

conditions and regulations that affect parole.” (citing

opinions of the First, Third, Fourth, Fifth, Sixth,

Eighth, and D.C. Circuits)).

       Naylor and Pearson also cite Hernandez, 70 F. Supp.

3d at 969-72, 974-76, a jail-conditions suit seeking

prospective relief.            There, the court held that several

inmate plaintiffs who were not in incarcerated in the


    5. Notably, the Armstrong plaintiffs’ claims
regarding parole-revocation hearings (as distinct from
claims   regarding  conditions   of   confinement  more
generally) likely would have qualified for a mootness
exception--either the ‘capable of repetition, yet
evading review’ exception for individual claims, or the
‘inherently transitory’ exception for class claims--due
to   the  district   court’s  findings   regarding  the
likelihood of recurrence and the brevity of such
hearings.

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jail when the complaint was filed had standing to seek

prospective relief.         Id. at 976.        The court based its

holding on Armstrong v. Davis, reading the case to hold

that, because these plaintiffs were under supervision

and therefore “still subject to the disputed conditions

of the jail,” they had standing.              However, as discussed

above, Armstrong actually did not go so far as the

Hernandez    court    said.          Further,     this     holding       of

Hernandez    conflicts      with        binding   Eleventh      Circuit

precedent, which will be discussed below.                Accordingly,

this court cannot rely on it.



                        2. Individual Claims

    “The general rule is that a prisoner’s transfer or

release   from   a   jail    moots      his   individual    claim    for

declaratory and injunctive relief” regarding conditions

of confinement.       McKinnon v. Talladega Cnty., 745 F.2d

1360, 1363 (11th Cir. 1984).              This is because “[p]ast

exposure to illegal conduct does not in itself show a

pending case or controversy regarding injunctive relief

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if unaccompanied by any continuing, present injury or

real     and   immediate      threat      of    repeated      injury.”

Cotterall v. Paul, 755 F.2d 777, 780 (11th Cir. 1985)

(citation omitted).          See also McAlpine, 187 F.3d at

1215 (“[W]hen an inmate’s claim for prospective relief

regarding conditions of confinement becomes moot due to

the    inmate-plaintiff’s      release     from     confinement,     the

inmate’s parole or supervised release status does not,

absent some exceptional showing, bring that claim under

the narrow ‘capable of repetition, yet evading review’

exception to the mootness doctrine.”).

       However, when a prisoner brings a claim that is

‘capable of repetition, but evading review,’ that claim

is not moot even when the injury has, for now, ended,

such as due to his or her release from custody.                      For

individual     claims,    “the   ‘capable      of   repetition,      yet

evading review’ doctrine [is] limited to the situation

where two elements combine[]: (1) the challenged action

was in its duration too short to be fully litigated

prior to its cessation or expiration, and (2) there

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[is] a reasonable expectation that the same complaining

party would be subjected to the same action again.”

Murphy v. Hunt, 455 U.S. 478, 482 (1982) (citations

omitted).       To meet this second threshold, a plaintiff

must allege more than a “mere physical or theoretical

possibility”      of    recurrence;       rather     there    must      be   a

“reasonable expectation or a demonstrated probability

that the same controversy will recur involving the same

complaining      party.”          Id.     (citation        and    internal

quotation marks omitted); see also Honig v. Doe, 484

U.S.     305,    318     n.6     (1988)       (explaining        that    the

likelihood of recurrence need not be “established with

mathematical precision” as long as the expectation of

recurrence      is   reasonable,        and   that   the     question        is

“whether the controversy was capable of repetition and

not ... whether the claimant had demonstrated that a

recurrence of the dispute was more probable than not).

       The   court     will    require    additional       briefing      and

evidence as to both prongs of the test.                       Naylor and

Pearson should identify any specific claims that they

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believe      will       evade    review        because      they   challenge

conditions to which a prisoner is subjected for a brief

period of time.           They should submit evidence as to the

durations of these conditions.                    They should also submit

individualized evidence substantiating their assertions

that, due to the conditions of their release, their

disabilities, or any other reasons, they are especially

likely      to    have        their      probation       revoked     and    be

reincarcerated.           See, e.g., id. at 320 (“[T]he record

is replete with evidence that Smith is unable to govern

his aggressive, impulsive behavior. ... In the absence

of    any   suggestion        that       respondent    has    overcome     his

earlier      difficulties,          it    is   certainly     reasonable     to

expect,      based      on    his      prior      history    of    behavioral

problems,        that    he     will      again     engage    in   classroom

misconduct.”); Armstrong, 275 F.3d at 867 (basing the

conclusion that “a              person with disabilities is more

likely to be suspected of conduct that results in the

revocation of parole than other parolees” on specific

factual findings of the district court).                      To the extent

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they    allege   that    the    very   discrimination       they    have

experienced       has     increased          their    likelihood         of

reincarceration, Naylor and Pearson should explain how

it has done so.          Finally, they should explain to the

court     why    their    reincarceration        would    necessarily

result in the reimposition of the conditions they have

identified as ‘evading review.’               The defendants should

submit any evidence to the contrary.



                           3. Class Claims

       Of course, Naylor and Pearson do not distinguish in

their substantive allegations between ‘individual’ and

‘class’    claims--they        make    the     same   allegations        on

behalf of themselves as they do on behalf of unnamed

putative class members who are similarly disabled and

are alleged to suffer similar discrimination.                 However,

the mootness analysis differs depending on whether the

court is considering the claims as brought on behalf of

individual plaintiffs or on behalf of a class.                  Because

these claims have been litigated as class claims from

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the outset of the case, but no class has yet been

certified,    the    court    must       consider   them   under    both

frameworks.

       When a named plaintiff’s claim becomes moot after

certification       of      the   class,      the    claim        remains

justiciable for Article III purposes.                  Geraghty, 445

U.S. at 403-04; Franks v. Bowman Transp. Co., 424 U.S.

747,    753-54    (1976).         By     contrast,    when    a     named

plaintiff’s individual claim becomes moot prior to the

certification of a class, the class claim is normally

mooted. Tucker v. Phyfer, 819 F.2d 1030, 1033 (11th

Cir. 1987) (citing Geraghty, 445 U.S. at 404 & n.11).

However, a well-recognized exception exists: “where a

named plaintiff’s claim is ‘inherently transitory,’ and

becomes    moot     prior    to   certification,      a    motion    for

certification may ‘relate back’ to the filing of the

complaint.”       Genesis Healthcare Corp., v. Symczyk, 133

S. Ct. 1523, 1528 n.2 (2013) (citation omitted). See

also    Kremens    v.    Bartley,      431   U.S.   119,   131     (1977)

(explaining that the Court had “adjudicated the merits

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of [] class claims notwithstanding the mootness of the

claims of the named parties” when “mootness was due to

the inexorable passage of time”); Zeidman v. J. Ray

McDermott & Co., Inc., 651 F.2d 1030, 1045 (5th Cir.

1981) (explaining that while “a suit brought as a class

action must as a general rule be dismissed for mootness

when the personal claims of the named plaintiffs are

satisfied and no class has properly been certified,”

“this general rule must yield when the district court

is unable reasonably to rule on a motion for class

certification before the individual claims of the named

plaintiffs become moot”).

    The   Supreme     Court    established      this    exception        to

mootness for ‘inherently transitory’ pre-certification

class claims in a line of cases beginning with Sosna v.

Iowa,   419   U.S.    393,    395-403    (1975).        Sosna    itself

concerns post-certification mootness.                Sosna, an Iowa

resident who wanted a divorce but had resided in the

state for less than a year, brought a class action

challenging    an    Iowa     durational-residency        requirement

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that     limited    state-court          divorce   jurisdiction          to

persons who had resided in the State for at least one

year.     The district court certified the class, but by

the time her case was on appeal at the Supreme Court,

Sosna had both resided in Iowa for more than a year and

had already procured the divorce elsewhere.                   Although

the Court noticed that Sosna’s               individual     claim was

moot, it did not dismiss her action and ruled on the

merits of the class claims.

       The Supreme Court’s reasoning rested in part, and

as relevant here, on the transitory nature of Sosna’s

claim.    When “the issue sought to be litigated escapes

full    appellate   review     at    the    behest   of    any   single

challenger,” the Court explained, the case “does not

inexorably become moot by the intervening resolution of

the controversy as to the named plaintiffs.”                     Id. at

401.     Rather, while the Court took care to “in no way

detract[] from the firmly established requirement that

the judicial power of Art. III courts extends only to

‘cases and controversies,’” id. at 402, it set out a

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flexible, case-specific approach to assessing mootness.

“In cases in which the alleged harm would not dissipate

during the normal time required for resolution of the

controversy,       the       general        principles       of       Art.   III

jurisdiction       require       that       the       plaintiff’s      personal

stake     in   the      litigation          continue       throughout        the

entirety of the litigation.”                 Id.        On the other hand,

in cases such as the one brought by Sosna (where, due

to the transitory nature of the claim, no particular

“spokesman       ...     could    retain          a    personal       adversary

position throughout the course of the litigation”), the

Court    shifted       its   focus     to    the       ongoing    controversy

still “very much alive for the class of persons she has

been certified to represent.”                Id. at 401 & n.9.

       In keeping with this practical approach, the Court

also    issued     a    further      instruction.            While      Sosna’s

holding    relied      firmly     on    “the      fact    that    a    putative

class acquires an independent legal status once it is

certified under Rule 23,” Symczyk, 133 S. Ct. at 1530,

the Court noted that, “There may be cases in which the

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controversy involving the named plaintiffs is such that

it becomes moot as to them before the district court

can reasonably be expected to rule on a certification

motion.”      Sosna, 419 U.S. at 402 n.11 (emphasis added).

“In such instances, whether the certification can be

said to ‘relate back’ to the filing of the complaint

may depend upon the circumstances of the particular

case    and   especially    the      reality    of    the   claim   that

otherwise the issue would evade review.”                Id.

       Since then, the Court has affirmed and developed

this pre-certification analysis.                In particular, the

Court    expressly     held     in     County    of     Riverside        v.

McLaughlin     that   the   ‘relation-back’          doctrine   applied

even though “the class was not certified until after

the named plaintiffs’ claims had become moot” because

the claims raised were inherently transitory.6                  500 U.S.



    6. Indeed, this is true even before a formal motion
for certification has been made.      As the Eleventh
Circuit recently explained, “There is nothing in the
[relevant caselaw] that suggests the relation-back
doctrine turns on whether the named plaintiffs’
                                   (footnote continued)
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44, 52 (1991) (citations omitted).                As the Court has

more recently explained, the “‘inherently transitory’

rationale    was   developed     to    address    circumstances          in

which      the     challenged       conduct       was     effectively

unreviewable, because no plaintiff possessed a personal

stake in the suit long enough for litigation to run its

course.”    Symczyk, 133 S. Ct. at 1531.

    A claim is inherently transitory not only if there

exists no plaintiff who could both establish standing

at the outset of litigation and retain an active stake

by the time class certification is decided, but also if


individual claims become moot before or after the
plaintiffs move to certify a class.          Quite the
contrary. ... [A] motion to certify, without more, does
nothing that is significant on this issue. The motion
indicates that the named plaintiff intends to represent
a class if allowed to do so, but the complaint itself
announces that same intent; the motion is not needed
for that purpose. ... The assertion that a motion
fundamentally changes the legal landscape--indeed, that
it   impacts   the   constitutional  prerequisites   to
jurisdiction under Article III--makes no sense.    What
matters is that the named plaintiff acts diligently to
pursue the class claims.”     Stein, 772 F.3d at 707.
This case has been litigated by both parties and
treated by the court as a putative class action from
the outset.

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it would be difficult to identify which prospective

plaintiff that would be at the time of filing.                   As the

Court explained in Gerstein v. Pugh, a claim should be

considered inherently transitory when “[i]t is by no

means   certain    that    any    given     individual,      named       as

plaintiff, would be in ... custody long enough for a

district judge to certify the class.”                  420 U.S. 103,

110 n.11 (1975) (emphasis added). Both the Second and

Seventh Circuits have held that, although “the ultimate

length of confinement does affect the applicability of

the ‘inherently transitory’ exception, the essence of

the exception is uncertainty about whether a claim will

remain alive for any given plaintiff long enough for a

district court to certify the class.”                Olson v. Brown,

594 F.3d 577, 582 (7th Cir. 2010) (emphasis added);

accord Zurak v. Regan, 550 F.2d 86, 90-92 (2d Cir.

1977); Thorpe v. District of Columbia, 916 F. Supp. 2d

65, 67 (D.D.C. 2013) (Huvelle, J.).

    Claims     that     derive      from    potentially       imminent

release   from    custody     are    “a    classic    example     of     a

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transitory claim.”          Wade v. Kirkland, 118 F.3d 667, 670

(9th Cir. 1997).             However, it is not clear whether

Naylor and Pearson are raising such claims.                       See id.

(reversing and remanding for the district court to take

evidence on the average length of detention in a county

jail in order to determine whether the claims brought

on    behalf      of    a   class      of   inmates      were   “in    fact

‘inherently transitory’”).

       Again, the court requires additional briefing and

evidence.7       Should they seek to argue that their claims

are inherently transitory, Naylor and Pearson should

identify      any      specific   claims     that   they    believe     are

inherently       transitory       as    defined     in    the   case    law


    7. Although Sosna and its progeny have recognized
the existence of the ‘inherently transitory’ exception
to class claims, its application in this circuit has at
times been confusing.    In particular, in Tucker, 819
F.2d at 1035, the Eleventh Circuit considered putative
class claims brought by a named plaintiff who had aged
out of the class he was attempting to represent
(juveniles confined in the county jail), but discussed
the applicability of the ‘capable of repetition, yet
evading   review’   exception,   not   the   ‘inherently
transitory’ exception. The parties may wish to address
the relevance of Tucker’s analysis to this case.

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discussed here.          They should submit evidence as to the

average       durations       of       these      conditions,       and    any

uncertainty         regarding      those     durations.          They   should

also submit evidence demonstrating that it is certain

that other persons similarly situated will be subjected

to    these    conditions.          The      defendants      should     submit

argument and evidence to the contrary.

                                   *    *    *

       For    the    foregoing         reasons,       it   is    ORDERED    as

follows:

       (1) The defendants’ partial motion to dismiss (doc.

no. 127) is denied as to standing.

       (2) As to mootness, the motion is reserved and set

for a hearing at 10:00 a.m. on December 16, 2015, in

Courtroom      2FMJ    of    the    Frank        M.   Johnson    Jr.    United

States        Courthouse        Complex,          One      Church       Street,

Montgomery, Alabama.

       (3)    The    plaintiffs        are   to   submit     a   pre-hearing

brief outlining the evidence they intend to present and

explaining why that evidence supports their positions

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on mootness no later than 21 days before the hearing;

the defendants are to respond no later than 14 days

before the hearing; and the plaintiffs may reply no

later than seven days before the hearing.

    DONE, this the 6th day of October, 2015.

                           ___/s/ Myron H. Thompson____
                           UNITED STATES DISTRICT JUDGE




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